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                       Exhibit 1:
                 ECF No. 60 in
               CFPB v. Gasparyan
Case
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16
                           UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18                                 WESTERN DIVISION
19 Consumer Financial Protection       Case No. 2:16-cv-2725-PSG(Ex)
20 Bureau,
                                       Honorable Philip S. Gutierrez
21
           Plaintiff,                  PLAINTIFF’S RESPONSE TO DEFENDANT’S
22                                     MOTION FOR CONSOLIDATION
     v.
23                                     Hearing Date & Time: April 17, 2017; 1:30 p.m.
24 Davit Gasparyan,                    Courtroom 6A, 350 West 1st Street, 6th Floor,
25                                     Los Angeles, California 90012
           Defendant.
26
27
28


     PL’S RESPONSE TO DEFS’ MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN RELATED ACTIONS
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 1                                    INTRODUCTION
 2         The Consumer Financial Protection Bureau agrees in principle to
 3 consolidation of the three related cases 1 and relayed this view to defendant
 4 Gasparyan during pre-motion discussions. During a call with Gasparyan before this
 5 motion, the Bureau informed Gasparyan that it “absolutely” agrees that consolidation
 6 is appropriate and suggested that the parties make a joint filing after thorough
 7 discussions about the impact of any consolidation on the Court’s schedule and other
 8 procedural issues. Gasparyan refused to continue discussions as required under Local
 9 Rule 7-3 and the Court’s Standing Order, 2 and did not accurately describe the
10 Bureau’s position in his motion, thereby necessitating this response. 3
11                                       DISCUSSION
12 I.      The Related Cases Should Be Consolidated For All Purposes.
13         The related cases should be consolidated for all purposes instead of just for
14 pretrial purposes, and Gasparyan offers no support for anything less than full
15 consolidation.
16
17
18
     1
19  CFPB v. Davit Gasparyan, 2:16-cv-2725-PSG(Ex); CFPB v. D and D Marketing,
   Inc., et al., 2:15-cv-9692-PSG(Ex); and CFPB v. Dmitry Fomichev, 2:16-cv-2724-
20 PSG(Ex).
     2
21   Standing Order Regarding Newly Assigned Cases, ECF No. 9, at ¶¶ 5(b), 12
   (requiring counsel to “discuss the issues to a sufficient degree that if a motion is still
22 necessary, the briefing may be directed to those substantive issues requiring
23 resolution by the Court;” to “resolve minor procedural or other non-substantive
   matters;” and that counsel requesting a continuance lodge a proposed stipulation).
24 3
     The “conference of counsel” to which Gasparyan refers on page 1 of his Notice of
25 Motion was an unplanned, perfunctory call during which Gasparyan first stated he
   was going to move for consolidation and the Bureau first responded that it likely
26 would agree to consolidation but that further consideration was warranted. The
27 parties spoke again on February 9, 2017, and during that telephone call Gasparyan
   relayed his belief that he had fulfilled his obligations to confer in advance of filing
28 his motion.

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 1          “The Court has broad discretion to order consolidation,” 4 and Federal Rule of
 2 Civil Procedure 42(a) provides for full or limited forms of consolidation.5
 3 Consolidation under Rule 42(a) is intended to “enhance trial court efficiency by
 4 avoiding unnecessary duplication of proceedings and effort,” and to avoid “the risk
 5 of inconsistent adjudications.” 6 Gasparyan admits, as he must, that consolidation
 6 avoids the “unnecessary duplication of evidence and procedures … [and] guards
 7 against the risk of inconsistent adjudications.” 7 Inexplicably, however, Gasparyan
 8 opposes consolidation for the trial for which evidence and procedures would be
 9 duplicated and from which the risk of inconsistent adjudications emanates.
10 Unsurprisingly, every case Gasparyan cites in support of his motion for limited
11 consolidation for the sake of judicial efficiency resulted in full consolidation. 8 Full
12 consolidation is similarly warranted here. 9
13
     4
14    Investors Research Co. v. U.S. Dist. Court for Central Dist. of Cal., 877 F.2d 777
     (9th Cir. 1989).
15   5
     See Window World of Chicagoland, LLC v. Window World, Inc., 811 F.3d 900, 903
16 (7th Cir. 2016) (Rule 42(a)(2) “provides for full consolidation, while subsections
   (a)(1) and (a)(3) authorize other forms of consolidation.”).
17
   6
     AMTRAK v. Camargo Trucking, Case No. 1:12-cv-775 AWI-BAM, 2013 U.S. Dist.
18 LEXIS 3143, at *6-9 (E.D. Cal. Jan. 7, 2013) (citation omitted).
19 7
     Mot. at 6 (internal quotation marks and citations omitted).
20 8
     See id., citing EEOC v. HBE Corp., 135 F.3d 543, 550-51 (8th Cir. 1998) (finding it
21 “appropriate to avoid the inefficiency of separate trials involving related parties,
   witnesses, and evidence”); Sylverne v. Data Search N.Y., Inc., 2008 U.S. Dist.
22 LEXIS 88303, at *3-8 (N.D. Ill. May 28, 2008) (The “specter” of multiple trials
23 “involving identical legal claims and substantially overlapping evidence” would
   waste resources “for claims that could be adjudicated in one trial,” and consolidation
24 would avoid the possibility of inconsistent verdicts.); Cadillac Ins. Co. v. American
   Nat’l Bank, 1992 U.S. Dist. LEXIS 2815, at *25-27 (N.D. Ill. Mar. 10, 1992)
25 (consolidating cases for trial, in part to “avoid a situation where there might be
   conflicting results from separate actions”).
26
   9
27 See, e.g., Anderson v. Office Depot, Inc., 2011 U.S. Dist. LEXIS 114180, at *1-3
   (S.D. Cal. Oct. 4, 2011) (cases consolidated for all purposes, to “preserve judicial
28 and party resources and … prevent potential conflicting results and adjudications).

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 1            Full consolidation is particularly appropriate where related cases are in the
 2 relatively early procedural stages and involve a common nucleus of operative facts. 10
 3 There is no question that these related cases involve a common nucleus of operative
 4 facts, 11 and each is in the pre-discovery stage.
 5 II.        Consolidation will necessarily impact the Court’s schedule.
 6            Gasparyan uses his consolidation motion to also seek a continuance of the
 7 scheduling conferences in each of the related cases, albeit without submitting the
 8 stipulation required by the Standing Order. 12 In fact, it appears that this motion may
 9 be intended to delay the commencement of discovery.
10            It was the Bureau that first sought agreement from all parties in the related
11 cases to consolidate the cases in October 2016. Then, on November 21, 2016, the
12 Bureau asked all parties in the related cases to make themselves available to discuss
13 and again attempt to reach agreement on consolidation. No other party—including
14 Gasparyan—agreed to discuss consolidation at length, and T3, the Demirchyans, and
15 Fomichev stated simply that consolidation then was “premature.” Now, Gasparyan
16 has had a change of heart on consolidation and has indicated, both during discussions
17 and in his motion, that he will take advantage of any delay in his scheduling
18 conference to withdraw from the joint Rule 26(f) discovery-planning conference
19 scheduled for February 27, 2017. 13
20
21
22   10
     See, e.g., AMTRAK v. Camargo Trucking, Case No. 1:12-cv-775 AWI-BAM, 2013
23 U.S. Dist. LEXIS 3143 at *9.
24   11
     See Consolidated Order Denying Defendants’ Motions to Dismiss, ECF No. 39,
25 and  the Court’s recent joinder of the T3 and Fomichev motions for certification of
   interlocutory appeal for hearing, ECF No. 70, CFPB v. D and D Marketing, Inc. et
26 al., Case No. 2:15-cv-09692-PSG(EX).
     12
27        See Mot. at 7.
     13
28        Id. (seeking later Rule 26(f) conference).

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 1            For the sake of efficiency, and given the common nucleus of operative facts, a
 2 single scheduling conference for the three related cases would be appropriate. But
 3 Gasparyan’s attempt to use consolidation of scheduling conferences to delay the
 4 commencement of discovery should be rejected.
 5            Under the current schedule, the parties may begin discovery after the February
 6 27, 2017 Rule 26(f) conference. Denying Gasparyan’s request and instead adding his
 7 scheduling conference to the March 20, 2017 scheduling conference in the related
 8 cases would best move these cases forward. If the Court instead moves the March
 9 20, 2017 scheduling conference to a later date, the Bureau requests that the Court
10 order the parties in the related cases to hold their joint Rule 26(f) conference as
11 scheduled on February 27, 2017.
12            There are also two hearing dates for three separate motions for certification of
13 interlocutory appeal for the three related cases: CFPB v. D and D Marketing, et al.
14 and CFPB v. Fomichev are scheduled for hearing(s) on March 27, 2017, and the
15 Gasparyan motion, not yet filed, 14 will presumably be scheduled for a hearing in late
16 April. The Bureau believes that a single hearing on all three motions would be
17 appropriate. The Bureau takes no position as to which date should be chosen except
18 it requests that, if the Court desires oral argument on the motions for certification of
19 interlocutory appeal, the hearing be scheduled for before March 21, 2017, or after
20 April 2, 2017, because lead counsel for the Bureau is unavailable during the interim
21 period.
22                                        CONCLUSION
23            For the foregoing reasons, the Bureau consents to consolidation of the three
24 related cases and requests (i) consolidation for all purposes; (iii) that a consolidated
25 scheduling conference be held on March 20, 2017; and (iii) that a consolidated
26
27
     14
28        Mot. at 2, n.3.

                                                  4
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 1 hearing on motions for certification of interlocutory appeal be scheduled for a date
 2 before March 21, 2017, or after April 2, 2017.
 3
 4 Dated: February 17, 2017      CONSUMER FINANCIAL PROTECTION BUREAU
                                 By /s/ Barry E. Reiferson
 5                                 Barry E. Reiferson
 6                                 Attorney for Plaintiff,
                                   Consumer Financial Protection Bureau
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     PL’S RESPONSE TO DEFS’ MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN RELATED ACTIONS
